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            IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF FLORIDA
                        PENSACOLA DIVISION

UNITED STATES OF AMERICA,

vs.                                                       3:12cr5/LAC

NIKKI KIGHT,
           Defendant.
_________________________________________________________________
                      REPORT AND RECOMMENDATION
                       CONCERNING PLEA OF GUILTY

      The defendant, by consent, has appeared before me pursuant to Rule 11,
Fed.R.Crim.P., and has entered a plea of guilty to the one count indictment against
her. After cautioning and examining the defendant under oath concerning the
subjects mentioned in Rule 11, I determined that the guilty plea was knowledgeable
and voluntary, and that the offense charged is supported by an independent basis in
fact containing each of the essential elements of such offense. I therefore recommend
that the plea of guilty be accepted and that the defendant be adjudicated guilty and
have sentence imposed accordingly.


Dated: February 23, 2012
                                       /s/   Charles J. Kahn, Jr.
                                       CHARLES J. KAHN, JR.
                                       UNITED STATES MAGISTRATE JUDGE
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                            NOTICE TO THE PARTIES

Any objections to these proposed findings and recommendations must be filed
within 24 hours after being served a copy thereof. Any different deadline that
may appear on the electronic docket is for the court’s internal use only, and does
not control. A copy of objections shall be served upon all other parties. Failure
to object may limit the scope of appellate review of factual findings. See 28
U.S.C. § 636; United States v. Roberts, 858 F.2d 698, 701 (11th Cir. 1988).




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